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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

MA LEG PARTNERS 1,                             §
                                               §
                        Plaintiff,             §
                                               §
v.                                             §       Civil Action No. 3:19-cv-00219-M
                                               §
CITY OF DALLAS                                 §
                        Defendants             §

       DEFENDANT CITY OF DALLAS’S MOTION TO DISMISS COMPLAINT FOR
                        FAILURE TO STATE A CLAIM

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

         Defendant, City of Dallas (the “City”), files this motion to dismiss and respectfully shows

the court as follows:

                                         No Claim is Stated

         Federal Rule of Civil Procedure 12(b)(6) authorizes dismissal of a complaint for failing to

state a claim upon which relief can be granted. Fed. R. Civ. P. 12(b)(6). All of Plaintiff’s claims

and causes of action against the City because Plaintiff fails to state a claim upon which relief can

be granted.

                                          Brief in Support

         The City has filed a brief in support of this motion and it is incorporated by reference. For

purposes of a motion under Fed. R. Civ. P. 12(b)(6), a court may consider documents attached to

or incorporated in the complaint and matters of which judicial notice may be taken. United States

ex rel. Willard v. Humana Health Plan of Texas Inc., 336 F.3d 375, 379 (5th Cir. 2003). The brief

in support of this motion references Plaintiff’s Complaint and documents attached to Plaintiff’s

Complaint.


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                                              PRAYER

        WHEREFORE, PREMISES CONSIDERED, the City requests that the Court grant in

whole, or alternatively in part, its motion to dismiss for failure to state a claim.

                                                        Respectfully submitted,

                                                        OFFICE OF THE CITY ATTORNEY
                                                        CITY OF DALLAS, TEXAS

                                                        Christopher J. Caso
                                                        Interim City Attorney

                                                        s/ Charles A. Estee
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                                      CERTIFICATE OF SERVICE

        I certify that on March 11, 2019, I electronically filed the foregoing document with the

clerk of court for the United States District Court for the Northern District of Texas using the

electronic case failing system of the court. The electronic case filing system sent a “Notice of

Electronic Filing” to all counsel of record who have consented in writing to accept this Notice as

service of this document by electronic means.

                                                s/ Charles A. Estee
                                                CHARLES A. ESTEE

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